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                      IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

The Huntington National Bank

                                            Plaintiff,
                          v.                             Case No. 23-cv-00220
Midwest Heart and Vascular Associates, Inc. a/k/a Assigned Judge:
Midwest Heart and Vascular Associates, S.C.
Dominic Tolitano; Anthony Del Priore; The Magistrate Judge:
Institute For Cardio Thoracic & Vein Surgery, LLC


                                        Defendants.

                                          COMPLAINT

       NOW COMES Plaintiff, The Huntington National Bank (the “Plaintiff” or “Huntington”),

and for its complaint against defendants Midwest Heart and Vascular Associates, Inc., a/k/a

Midwest Heart and Vascular Associates, S.C (“Borrower”) Dominic Tolitano, Anthony Del

Priore, and The Institute For Cardio Thoracic & Vein Surgery, LLC (collectively the

“Guarantors”) states as follows:

       1.       This Court has original subject matter jurisdiction in this lawsuit pursuant to 28

U.S.C. §1332(a), because the matter in controversy is between citizens of different states and it

exceeds the sum of $75,000.00, exclusive of interest and costs.

       2.       This Court has personal jurisdiction over the defendant under 735 ILCS 5/2-

209(a) & (b).

       3.       Venue is proper in this district pursuant to 28 U.S.C. §1391.

       4.       Plaintiff is a national banking association, the main office of which is located in

the State of Ohio and the state designated on its organization certificate is Ohio.

       5.       Defendant Midwest Heart and Vascular Associates, Inc. a/k/a Midwest Heart and
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Vascular Associates, S.C is incorporated in the state of Illinois and maintains its principal place

of business at 236 East Irving Park Rd., Wooddale, Illinois.

       6.      The defendant, Dominic Tolitano (“Tolitano”), is a citizen of the State of Illinois,

and was at all times referenced in this Complaint, domiciled in LaGrange, Illinois.

       7.      The defendant, Anthony Del Priore (“Del Priore”), is a citizen of the State of

Illinois, and was at all times referenced in this Complaint, domiciled in Chicago, Illinois.

       8.      The defendant, The Institute For Cardio Thoracic & Vein Surgery, LLC, is a

limited liability company organized in the State of Illinois. Its sole members are Tolitano and

Del Priore.

       9.      On or about June 27, 2019, Plaintiff extended credit to Midwest Heart & Vascular

Associates, Inc. (“Borrower”) in the amount of $350,000.00. As evidence of the Loan, Borrower

executed a Promissory Note in favor of Plaintiff dated June 27, 2019, in the principal amount of

$350,000.00 (the “First Note”). A true and correct copy of the First Note is attached hereto as

Exhibit A and by express reference made a part hereof.

       10.     On or about August 22, 2019, Plaintiff extended credit to Borrower in the

amount of $51,200.00. As evidence of the Loan, Borrower executed a U.S. Small Business

Administration Note in favor of Plaintiff dated August 22, 2019, in the principal amount of

$51,200.00 (the “Second Note”). A true and correct copy of the Second Note is attached hereto

as Exhibit B and by express reference made a part hereof.

       11.     On or about February 16, 2022, Plaintiff, extended credit to Borrower in the

amount of $55,045.00. As evidence of the Loan, Borrower executed an Equipment Finance

Agreement in favor of Plaintiff dated February 16, 2022, in the principal amount of $55,045.00.




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(the “Third Note” and collectively with the First and Second Notes “Notes”). A true and correct

copy of the Third Note is attached hereto as Exhibit C and by express reference made a part

hereof.

          12.   As additional security for the Notes, Guarantors executed certain Commercial

Guaranty Agreements (collectively, the “Guarantees”) in favor of Plaintiff guarantying payment

of all amounts due on the Notes. A true and correct copy of the Guarantees are attached hereto

as Exhibits D through G.

          13.   Borrower allowed numerous Events of Default (“Events of Default”) to occur

under the terms of the Notes, including Borrower’s failure to pay the monthly principal and

interest payments when due. Additionally, Borrower appears to have ceased operating, and

filed a chapter 11 bankruptcy on November 11, 2022 in the Northern District of Illinois

Bankruptcy Court which bankruptcy was subsequently dismissed on January 12, 2023.

          14.   Under the terms of the Notes and Guarantees, Borrower and Guarantors also

guaranteed payment of any attorney’s fees and cost incurred by Plaintiff in enforcing its rights

under the Note.

                                COUNT I – BREACH OF NOTES

          15.   Plaintiff adopts and realleges the allegations in paragraphs 1 through 14 as

paragraph 15 of this Count I.

          16.   By reason of the foregoing, as of November 11, 2022, Borrower is indebted to the

Plaintiff in the amount of $402,459.67 for the amounts due on the three Notes consisting of

$350,095.38 due on the First Note, $2,543.19 due on the Second Note, and $49,821.10 due on

the Third Note.




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        WHEREFORE Plaintiff requests this Court enter judgment in its favor and against

Midwest Heart and Vascular Associates, Inc. a/k/a Midwest Heart and Vascular Associates, S.C

in the amount of $402,459.67 and grant such further relief to which Plaintiff is entitled.

                     COUNT II – BREACH OF GUARANTY TOLITANO

        17.    Plaintiff adopts and realleges the allegations in paragraphs 1 through 16 as

paragraph 17 of this Count II.

        18.    By reason of the foregoing, as of November 11, 2022, Dominic Tolitano is

indebted to the Plaintiff in the amount of $402,459.67 for the amounts due on the three Notes

consisting of $350,095.38 due on the First Note, $2,543.19 due on the Second Note, and

$49,821.10 due on the Third Note.

        WHEREFORE Plaintiff requests this Court enter judgment in its favor and against

Dominic Tolitano in the amount of $402,459.67 and grant such further relief to which Plaintiff

is entitled.

                    COUNT III – BREACH OF GUARANTY DEL PRIORE

        19.    Plaintiff adopts and realleges the allegations in paragraphs 1 through 18 as

paragraph 19 of this Count III.

        20.    By reason of the foregoing, as of November 11, 2022, Anthony Del Priore is

indebted to the Plaintiff in the amount of $402,459.67 for the amounts due on the three Notes

consisting of $350,095.38 due on the First Note, $2,543.19 due on the Second Note, and

$49,821.10 due on the Third Note.

        WHEREFORE Plaintiff requests this Court enter judgment in its favor and against

Anthony Del Priore in the amount of $402,459.67 and grant such further relief to which




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Plaintiff is entitled.



                          COUNT IV – BREACH OF GUARANTY
               THE INSTITUTE FOR CARDIO THORACIC & VEIN SURGERY, LLC

        21.      Plaintiff adopts and realleges the allegations in paragraphs 1 through 20 as

paragraph 21 of this Count IV.

        22.      By reason of the foregoing, as of November 11, 2022, The Institute for Cardio

Thoracic & Vein Surgery, LLC is indebted to the Plaintiff in the amount of $402,459.67 for the

amounts due on the three Notes consisting of $350,095.38 due on the First Note, $2,543.19 due

on the Second Note, and $49,821.10 due on the Third Note.

        WHEREFORE Plaintiff requests this Court enter judgment in its favor and against Cardio

Thoracic & Vein Surgery, LLC in the amount of $402,459.67 and grant such further relief to

which Plaintiff is entitled.


                                                    THE HUNTINGTON NATIONAL BANK


                                                    By: /s/ Matthew L. Hendricksen
                                                      One of its Attorneys



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